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USDC FLSD 7458 (Rev.09/08)-JudgmentinaCriminalCase                                                         Pag;
                                                                                                              t1of7


                          U N IT ED STA T E S D ISTR IC T C O U R T
                                                Southern D istrictofFlorida
                                                      M iam iDivision

         UNITED STATES O F AM ERICA                           JUDGM ENT IN A CRIM INAL CASE

                                                              Case N um ber:16-20461-CR -M A R TINEZ
  M ILDREY DE LA CARIDAD GONZALEZ                             USM Number:09301-104

                                                              CounselForDefendant:M arcSeitles
                                                              CounselForTheUnited States:LisaM iller
                                                              CourtReporter:G lendaPowers
Thedefendantpleadedguiltytocountts)1and2 oftheSupersedingIndictment.
Thedefendantisadjudicated guiltyoftheseoffenses.
7-                                                                              -                      -
!TITLE & SEC TIO N                 N ATU R E O F O FFEN SE                                 O FFEN SE        C O UN T
                                                                                           EN D ED
 18U.S.C.j1349                     conspjracytocommithealthcarefraudandwirefraud 06/2016                    1
4.
 18U.S.C.j1347                    'healthcarefraud                               j06/2016                  j2
The defendantis sentenced as provided in the following pages of thisjudgment.The sentence is imposed
pursuantto the Sentencing Reform A ctof 1984.
Upon the m otion ofthegovernm enttherem aining countsoftheSuperseding lndictm entshallbe dism issed
asto this defendant.
lt is ordered thatthe defendantm ust notify the United States attorney for this districtwithin 30 days ofany
change ofname,residence,orm ailing addressuntilallfines,restitution,costs,and specialassessm entsimposed
bythisjudgmentarefullypaid.Iforderedtopayrestitution,thedefendantmustnotifythecourtandUnitedStates
attorney ofmaterialchangesin econom iccircllmstances.




                                                             Dateoflmposition ofSentence:6/14/2017


                                                                               v'           z

                                                           Jose E.M ar nez
                                                           U nited Stat DistrictJudge


                                                           Date:                lF /
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USDC FLSD 2458 (Rev,09/08)-JudymentinaCrimi
                                          nalCase                                                   Paae2of6
DEFENDANT:M ILDREY DE LA CARIDAD GONZALEZ
CASE NUM BER:16-20461-CR-M ARTlNEZ

                                               IM PRISONM ENT
Thedefendantishereby com mitted to thecustody ofthe United StatesBureau ofPrisonsto be imprisoned fora
totalterm of135 m onths.Thetenu consistsoftermsof120 monthsasto CountOneand 15 m onthsasto Count
Two,to beserved consecutively to each otherand tothesentence imposed in docket16-20507-CR-M OORE.
The courtm akvsthe following recom m endationsto the Bureau ofPrisons:The Courtrecomm endsthatthe
defendantbe screened for residentialdrug and alcoholprogram ,thatshe should be placed, ifpossible atFPC
Alderson in W estVirginia and thatshe be confined atthe sam e BOP asherdaughter,M ilka Yarlin Alfaro in the
snmecaseReg.N0.09302-104 .
TheCourtalso recom mendsthatthe defendantbe screened forany health problem sand please ensure thatshe is
sentto an appropriatem edicalfacility to betreatedbeforeshe issenttotheprisonthatshe'sgoing to beresiding at.

Thedefendantisrem anded to the custody ofthe United StatesM arshal.

                                                          RETU R N
Ihaveexecutedthisjudgmentasfollows:




Defendantdelivered on                                                 to

at                                                  ,with acertifiedcopyofthisjudgment.




                                                             UN ITED STA TES M A RSHA L



                                                             D EPU TY UN ITED STA TES M A RSH A L
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USDC FLSD 2458 (Rev.09/08)-JudyTentinaCri
                                        minalCase                                                           Paae3of7

DEFEN D AN T:M ILDR EY D E LA CA R ID A D G O N ZA LE Z
CASE NUM BER:16-20461-CR-M ARTINEZ

                                                    SUPERVISED RELEASE
Upon release from imprisonment,the defendantshallbe on supervised release fora term of3 years.Thisterm consists of
threeyearsasto each ofCountsOneand Two,allsuch term sto run concurrently.
Thedefendantm ustreportto the probation office in the districtto which thedefendantisreleased w ithin 72 hoursofrelease
from the custody ofthe Bureau ofPrisons.
Thedefendantshallnotcom mitanotherfederal,stateorlocalcrime.
The defendantshallnotunlawfully possessa controlled substance.The defendantshallrefrain from any unlawfuluse ofa
controlled substance.The defendantshallsubm itto one drug testwithin 15 daysofrelease from imprisonmentand atleast
two periodic drug teststhereafter,asdetermined by the court.
Thedefendantshallnotpossess a irearm ,am m unition,destructive device,orany other dangerousweapon.

Thedefendantshallcooperate in the collection ofDNA asdirected by the probation oficer.

lfthisjudgmentimposesafineorrestitution,itisacondition ofsupervisedreleasethatthedefendantpay inaccordance
withtheScheduleofPaymentssheetofthisjudgment.
Thedefendantm ustcom ply w ith the standard conditionsthathave been adopted by thiscourtaswellaswith any additional
conditionson the attached page.
                                     STANDARD CONDITIONS OF SUPERVISION
    l.Thedefendantshallnotleavethejudicialdistrictwithoutthepermissionofthecourtorprobationoftker;
   2.Thedefendantshallreporttotheprobationofficerandshallsubmitatruthfulandcomplete written reportwithinthefirstfifteen
      daysofeachm onth;
   3.Thedefendantshallanswertruthfully allinquiriesbytheprobationofticerand follow theinstructionsoftheprobationofficer;
   4.Thedefendantshallsupporthisorherdependentsand meetotherfamily responsibilities'      ,
   5.Thedefendantshallworkregularly atalawfuloccupation,unlessexcusedby theprobation officerforschooling,training,or
      otheracceptablereasons;
   6.Thedefendantshallnotifytheprobation officeratleasttendayspriortoanychangeinresidenceoremployment;
   7.Thedefendantshallrefrain from excessiveuseofalcoholandshallnotpurchase,possess,use,distribute,oradministerany
      controlled substanceorany paraphernaliarelatedtoanycontrolled substances,exceptasprescribed by aphysician;
   8.Thedefendantshallnotfrequentplaceswherecontrolledsubstancesareillegally sold,used,distributed,oradministered'   ,
   9.Thedefendantshallnotassociatewith anypersonsengaged in criminalactivity and shallnotassociatewith anyperson convicted
      ofafelony,unlessgranted pennissiontodo sobytheprobationofficer;
   10.Thedefendantshallpermitaprobation oftk ertovisithim orheratany timeathomeorelsewhereand shallpermitconfiscation
      ofanycontrabandobserved inplain view oftheprobation officer;
   1l.'
      T'hedefendantshallnotifytheprobation officerwithin seventy-twohoursofbeing arrestedorquestionedby a1aw enforcement
      officer;
   l2.Thedefendantshallnotenterinto anyagreementtoactasan informeroraspecialagentofa1aw enforcementagencywithoutthe
      permission ofthecourt;and
   13.A sdirected by theprobation officer,the defendantshallnotifythird partiesofrisksthatm aybeoccasionedby thedefendant's
      criminalrecordorpersonalhistoryorcharacteristicsand shallpennittheprobation officerto makesuch notificationsandto
      confirm thedefendant'scompliance with such notificationrequirement.
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DEFENDANT:M ILDREY DE LA CARIDAD GONZALEZ
CASE N UM BER:16-20461-CR-M ARTINEZ

                                       SPE CIA L CO N D ITIO N S O F SUPER V ISIO N

FinancialDisclosureRequirem ent-Thedefendantshallprovidecom plete accessto fnancialinformation,
including disclosureofa1lbusinessand personalfinances,to theU.S.Probation Offcer.

HeaIth CareBusinessRestriction -Thedefendantshallnotown,directly orindirectly,orbe employed,directly
orindirectly,in any health carebusinessorservice,which submitsclaim stoany private orgovernmentinsurance
company,withoutthe Court'sapproval.

NoNew DebtRestriction-Thedefendantshallnotapglyfor,solicitorinclzranyfurtherdebt,includedbutnot
limitedtoloans,linesofcreditorcreditcardcharges,eltherasaprincipalorcosigner,asanindividualorthrough
any corporateentity,withoutfirstobtaining perm lssion from theUnited StatesProbation Officer.

PermissibleSearch -Thedefendantshallsubmitto a search ofhis/herperson orproperty conducted in a
reasonable mannerand atareasonabletim eby the U.S.Probation Offcer.

Self-Em ploym entRestriction -The defendantshallobtain priorwritten approvalfrom the Courtbeforeentering
into any self-employm ent.

SubstanceAbuseTreatm ent-Thedefendantshallparticipate in an approved treatmentprogram fordrug and/or
alcoholabuse and abideby al1supplementalconditionsoftreatm ent.Participation m ay include
inpatient/outpatienttreatment.Thedefendantwillcontributetothecostsofservicesrendered (co-payment)based
on ability to pay oravailability ofthird party paym ent.

Unpaid Restitution,Fines,orSpecialAssessm ents-Ifthedefendanthasany unpaid am ountofrestitution,
fines,orspecialassessm ents,thedefendantshallnotifytheprobation officerofany m aterialchangeinthe
defendant'seconomic circum stancesthatm ightaffectthedefendant'sability to pay.
      Case 1:16-cr-20461-JEM Document 245 Entered on FLSD Docket 06/16/2017 Page 5 of 7


USDC FLSD 2458 (Rev.09/08)-JudgmentinaCriminalCase                                              Pa?e5of6
DEFENDANT:M ILDREY DE LA CARIDAD G ONZALEZ
CA SE N U M BER :16-20461-C R-M A R TIN EZ

                               CRIM INAL M ONETARY PENALTIES
Thedefendantm ustpay thetotalcrim inalm onetary penaltiesunderthe scheduleofpaymentson Sheet6.
                                  A ssessm ent               Fine                Restitution
       TO TA LS                     $200.00                 $0.00              $22,906,267.41
If the defendant m akes a partial paym ent, each payee shall receive an approxim ately proportioned
paym ent,unless specified otherwise in the priority erder or percentage paym entcolum n below.How everr
pursuantto 18U.S.C.j3664(1),allnonfederalvictimsmustbepaid beforetheUnited Statesispaid.
f                                                            -'
INAM E OF PAYEE                                      TOTAL        RESTITUTION           PRIORITY O R
l                                                    LOSSw        ojo spso              psucExu cE
r-
jcentersforMedicareandMedicaid services              $0.00
                                                         $22,906,267.41
RestitutionwithImprisonm ent-ltisfurtherorderedthatthedefendantshallpayjointandseveralrestitutionwith
hercodefendants Adriana De La Caridad Jalil,Luis Enrique Luzardo and M ilka Yarlin Alfaro as wellas their
co-conspirators in docket num bers 16-20444-CR-Lenard, 16-20445-CR-M artinez, 16-20447-CR-Ungaro,
16-20449-CR-M iddlebrooks,and 16-20492-CR-W iiliam sin the am ountof$22,906,267.41.During the period of
incarceration,paymentshallbemadeasfollows:(1)ifthe defendantearnswagesin aFederalPrison Industries
(UNlCOR)job,thenthedefendantmustpay50% ofwagesearnedtowardthefinancialobligationsimposedbythis
JudgmentinaCriminalCase;(2)ifthedefendantdoesnotworkinaUNlcoRjob,thenthedefendantmustpaya
m inimum of$25.00perquartertowardthefinancialobligationsimposed inthisorder.
Upon releaseofincarceration,thedefendantshallpayrestitution attherateof10% ofm onthly grossearnings,until
suchtimeasthecourtmay alterthatpaymentscheduleintheinterestsofjustice.TheU.S.BureauofPrisons,U.S.
Probation Office and U .S.Attorney'sOffce shallm onitorthe paym entofrestitution and reportto the courtany
m aterialchangeinthedefendant'sabilitytopay.Thesepaymentsdonotprecludethegovernment,subsequentlythe
U.S.Probation Office from using any other anticipated orunexpected financialgains,assets or income ofthe
defendantto satisfy the restitution obligations. The restitution shallbe m ade payable to Clerk,United States
Courtsand forwarded totheaddressbelow .
Therestitution willbeforwarded bythe Clerk oftheCourttothevictim on theattached list.
 from using otherassetsorincom eofthedefendantto satisfy the restitution obligations.
* Findingsforthetotalamountoflossesare required underChapters 109A,110,1IOA,and 113A ofTitle 18 for
offensescomm itted on orafterSeptember13,1994,butbeforeApril23,1996.
*#Assessmentdueimm ediately unlessotherwiseorderedbytheCourt.
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                                                                        è                     Pagçfof7

DEFENDANT:M ILDREY DE LA CARIDAD G ONZALEZ
CASE NUM BER:16-20461-CR-M ARTINEZ

                                      SCHEDULE OF PAYM ENTS
Having assessed the defendant's ability to pay,paym ent of the total crim inalm onetary penalties is due as
follow s:
A.Lum p sum paym entof$200.00 dueim m ediately.
Unlessthe courthasexpressly ordered otherwise,ifthisjudgmentimposesimprisonment,paymentofcriminal
m onetary penalties is due during imprisonment.Allcriminalm onetary penalties,exceptthose paym ents m ade
through the FederalBureau ofPrisons'lnm ate FinancialResponsibility Program ,are m ade to the clerk ofthe
court.

The defendant shall receive credit for all paym ents previously made toward any eriminalm onetary penalties
imposed.
Thisassessm ent/fine/restitution ispayableto the CLERK,UNITED STA TES COURTS and istobeaddressed to:
U.S.CLERK'S OFFICE
A TTN :FIN AN C IA L SEC TIO N
400 NO RTH M IAM IAVENUE,R OOM 08N09
M IAM I,FLO R ID A 33128-7716
The assessment/fine/restitution is payable immediately.The U .S.Bureau ofPrisons,U .S.Probation Office and
theU.S.Attorney'sOfficeare responsibleforthe enforcementofthisorder.
Jointand Several
Defendantand Co-DefendantNamesand CaseNumbers(includingdefendantnumber),TotalAmount,Jointand
SeveralAm ount,and corresponding payee,ifappropriate.
C ASE N UM BE R                                                           JO IN T A ND SEVER AL
DEFENDAN T AND CO-DEFENDANT NAM ES                         TOTAL AM O UNT AM OUNT
(INCLUDIN G DEFENDANT NUM BER)
16-20461-CR-M ART1NEZ-AdrianaDe La CaridadJalil            $0.00               $22,90$267.
                                                                                      .  41
r
'            -     -
(16-2046l-CR-M ART1NEZ-M ilka Yarlin Alfaro                $0.00               $22,906,267.41
16-20444-CR-LENARD-RamonDavidColladoGonzalez j$0.00                            $22,906,267.41
16-2044S-CR-M ARTINEZ-LindaM arqyez          -
                                                           $0.00                $22,906,267.41
 16-20447-CR-UN GARO-Julio C.Velazqpez                     $0.00               i$22,906,267.41
                                                                                          .


.16-20449-CR-M IDDLEBROOKS-M aitee Gonzalez                $0.00               $22,906,267.41
L1
 -6-2-04-?-2.
            -C-R
               -.-W--I
                     ..
                      L-L
                        ..I
                          .A
                           --M.S-Ju..
                                    -nCast
                                    a    -tl
                                           -loMayejo .--   $0-.-
                                                           -   00---.          I$22,906,2.67.41
The defendant's right,title and interestto the property identified in the prelim inary order of forfeiture
which hasbeen entered by theCourton M arch 8,2017(D.E.210)isincorporated intothisJudgmentand
C om m itm ent.

Restitutionisowed jointly and severally bythedefendantandco-defendantsin theabovecase.
Paymentsshallbeappliedinthefollowingorder;(1)assessment,(2)restitutionprincipal,(3)restitutioninterest,
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    (4)Eneprincipal,(5)fineinterest,(6)community restitution,(7)penalties,and(8)costs,includingcostof
    prosecution and courtcosts.




                                                                                                          I




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